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           EXHIBIT 1
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Reg. No. 6,068,903         ConsumerDirect, Inc. (NEVADA CORPORATION)
                           16795 Von Karman Ave #230
Registered Jun. 02, 2020   Irvine, CALIFORNIA 92606

                           CLASS 35: Consumer self-help financial services, namely, monitoring consumer credit
Int. Cl.: 35, 36, 42       reports and providing an alert as to any changes therein for business purposes

Service Mark               FIRST USE 9-00-2009; IN COMMERCE 9-00-2009

Principal Register         CLASS 36: Consumer self-help financial services, namely, consumer self-help credit risk
                           analysis, consumer self-help credit management, consumer credit reporting services, credit
                           counseling, and providing consumer information in the field of credit management

                           FIRST USE 9-00-2009; IN COMMERCE 9-00-2009

                           CLASS 42: Consumer self-help financial services, namely, electronic monitoring of credit
                           card activity to detect fraud via the internet

                           FIRST USE 9-00-2009; IN COMMERCE 9-00-2009

                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           OWNER OF U.S. REG. NO. 3819295

                           SER. NO. 88-679,454, FILED 11-04-2019




                                                                                              Exhibit 1, Page 32
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        REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

     WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
            DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

   Requirements in the First Ten Years*
   What and When to File:

        First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
        years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
        registration will continue in force for the remainder of the ten-year period, calculated from the registration
        date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

        Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
        for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


   Requirements in Successive Ten-Year Periods*
   What and When to File:

        You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
        between every 9th and 10th-year period, calculated from the registration date.*


   Grace Period Filings*

   The above documents will be accepted as timely if filed within six months after the deadlines listed above with
   the payment of an additional fee.

   *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
   extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
   (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
   The time periods for filing are based on the U.S. registration date (not the international registration date). The
   deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
   nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
   do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
   international registration at the International Bureau of the World Intellectual Property Organization, under
   Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
   date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
   international registration, see http://www.wipo.int/madrid/en/.

   NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
   USPTO website for further information. With the exception of renewal applications for registered
   extensions of protection, you can file the registration maintenance documents referenced above online at h
   ttp://www.uspto.gov.

   NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
   owners/holders who authorize e-mail communication and maintain a current e-mail address with the
   USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
   Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
   available at http://www.uspto.gov.




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